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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
v.                                              )      Case No. 4:01CR148
                                                )
DARRELL MILLER,                                 )
                                                )
                           Defendant.           )

                                         ORDER

      THIS MATTER comes before the Court on defendant's unopposed motion to

continue the May 8, 2007, revocation hearing, filing 445, for approximately 90 - 120 days.

The Court, being fully advised in the premises, and noting that the Government has no

objection, finds that said motion should be granted.

      IT IS THEREFORE ORDERED that the defendant’s revocation hearing shall be

continued until Tuesday, September 11, 2007, at 12:00 noon. The defendant is ordered

to appear at said time.

      April 24, 2007.                           BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
